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     9                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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1.
2.12     Lee Wigod, individually and on behalf           Case No. 2:19-cv-02874-SVW-MAA
         of all others similarly situated,
 13
                                                         ORDER GRANTING
3.14                          Plaintiff,                 UNOPPOSED MOTION FOR
                                                         EXTENSION OF TIME FOR
 15
4.       v.                                              PLAINTIFF TO MOVE FOR
 16                                                      CLASS CERTIFICATION
5.       CallFire, Inc., a Delaware corporation,
 17

 18                           Defendant.
6.19                                            7.

 20            The Court, having considered Plaintiff’s Unopposed Motion for Extension of

 21      Time for Plaintiff to Move for Class Certification and being duly advised in the

 22      premises, hereby ORDERS as follows:

 23            1.     The Motion is GRANTED.

 24            2.     Plaintiff’s deadline to file his motion for class certification is extended

 25                   by three (3) months. Plaintiff shall file his motion for class

 26                certification no later than October 28, 2019.
         IT IS SO ORDERED.
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 28      Date: May 29, 2019                        Hon. Stephen V. Wilson U.S. District Judge

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